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                              SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                                                                                                                                           EXHIBIT A
                 FOR THE PERIOD BEGINNING:                      January1, 2014                               AND ENDING:             January 31, 2014

     Name of Debtor: TRILLION PARTNERS, INC.                                                                 Case Number:            11-cv-01787-MSK-MJW

                                                                                                                 CURRENT
                                                                                                                  MONTH

     1. FUNDS AT BEGINNING OF PERIOD                                                                                   171 ,704.82   (al
     1. RECEIPTS:
      A. Customer Collections al Trillion
       B. Customer Collections in Lockbox
      C. Received from Secured Lenders
      D. Other Receipts

     2. TOTAL RECEIPTS

     TOTAL FUNDS AVAILABLE FOR
         OPERATIONS                                                                                                    171,704.82

     3. DISBURSEMENTS
      A    Advertising
      B    Bank /Credit Card Charges                                                                                       143.00
      C    Contract Labor
      D    Fixed Asset Payments
      E    Insurance
       F   Inventory Payments
      G    Leases
      H    Circuits
           Office Supplies
           Payroll- Net
      K    Professional Fees
      K1           Alvarez & Marsal
      K2           McElroy, Deutsch, Mulvaney & Carpenter
      K3           Horowwitz & Burnett, P.C.
      K4           Wiley Rein
      K5           Greg Vogt
      K6           Ford & Harrison
      K7           Real Estate Tax Consultants
      K8           Winstead P.C.
      K9           Grimshaw & Haring
     K10           Ewell , Bickham , Brown & Rabb L
     K11           Smith,Angderson ,Biount ,Dorsett
     K 12          Carianne Weston
     K13           Madison Sproul Partners
     K14           Alvarez & Marsal Taxand, LLC
     K 15          Brown Rudnick
     K16           Lerman Senter
     K17           Burr & Foreman
       L   Rent
      M    Repairs & Maintenance
      N    Secured Creditor Payments
      0    Taxes Paid- Payroll
      P    Taxes Paid - Sales & Use
      Q    Taxes Paid- Other
      R    Telephone
      S    Travel & Entertainment
       T   Utilities
      U    Vehicle Expenses
      U1   Bear Reimbursements
      U2   Payro II Contributions
      U3   Transfer to Escrow Account on behalf of Secured Creditors
      U4   Disbursement from Vectra Bank to Trillion
      U5   Disbursement from US Bank to Vectra
      V    Other Operating Expenses
      W    Transfer to Receivership Wealth Management Account
      X    Transfer to TX Communications
     Excess prior months checks cleared over current month checks uncleared
     4. TOTAL DISBURSEMENTS (Sum of 3A thru VI                                                                              143.00
     5. NET CASH FLOW FOR PERIOD                                                                                           (143.001
     7. ENDING BALANCE (Line 4 Minus Line 6)                                                                           171 ,561.82 (c)
                                                                            Check


     I declare under penalty or perjurythatthis statement and the accompanying documents and reports are true
     and correct to the best of my knowledge and belief.

     This 25th         dayof ______________~F~e~br~u=a~ry~_____________ 2014                                 sf Byron P. Smyl
                                                                                                                                     (Signature)

     (a) This number is carried forward from last month's report. For the first report only, this number will be the
         balance as of the receivership date.
     (b) This figure will not change from month to month. It is always the amount of funds on hand as of the date of
         the receivership
     (c) These two amounts will always be the same if form is completed correctly.



                                                                            MOR- 16
